Case o-2U0-06049-aSt DOC 20-5 Filed Ol/lo/2zs centered Uliloizo 20141744

EXHIBIT C
CHASE &

JPMorgan Chase Bank, NA.

Case o-20-06049-aSt DOC 90-9 Filed Olflo/zs Entered Ol/loizso 20141744

Texas Market

P O Box 659754
San Antonio, TX 78265 -9754

March 01, 2017 through March 31, 2017
Account Number: O00000684866450

a
CUSTOMER SERVICE INFORMATION

If you have any questions about your

00009210 DDA 201211 09117 NNNNNNNNNNN 1 000000000 63 C000

ORION HEALTHCORP ING
OPERATING ACCT

ATTN FINANCE

368 W PIKE ST STE 102
LAWRENCEVILLE GA 30046-3240

statement, please contact your
Customer Service Professional.

CHECKING SUMMARY] Commercial Checking

INSTANCES AMOUNT
Beginning Balance $343,294.90
Deposits and Additions 49 33,078,889.99
Electronic Withdrawals 48 - 27,522,676.12
Other Withdrawals, Fees & Charges 5 - 23,710.04
Ending Balance 102 $5,875,798.73
DEPOSITS AND ADDITIONS
DATE DESCRIPTION AMOUNT
03/01 Remote Online Deposit 1001 $245,212.06
03/02 Fedwire Credit Via: Grandpoint Bank/122244566 B/O: Rand Medical Billing Inc 80,000.00
Simi Valley CA 93065-0000 Ref: Chase Nyc/Ctr/Bnf=Orion Healthcorp Inc
Lawrenceville GA 30046-3240/Ac- 000000006849 Rfb=O/8 Grandpoint BO
Bi=Transfer To Orion Bbi=/Time/16:3 5 Imad: O8302Mmafimp9E00015¢ Tm:
5879509061 Ff
03/02 Fedwire Credit Via: Silicon Valley Bank/121140399 B/O: Collabnet Inc South San 6,254.00
Francisco, CA 94080 Ref: Chase Nyo/Ctr/Bnf=Orion Healthcorp Inc Lawrenceville
GA 30046-3240/Ac- 000000006849 Rib=O/B Sil Vly Bk S O BieInvoice
No. Inv-07312 Bbi=/Time/0 5:00 Imad: 0802L1B77D1C000080 Trn: 0316909061Ff
03/02 JPMorgan Access Transfer From Account000000004063105 195,000.00
03/02 JPMorgan Access Transfer From Account000000004064343 119,000.00
03/02 JPMorgan Access Transfer From Account000000004063682 78,000.00
a 03/03 Fedwire Credit Via: Cobiz Bank NA/102003206 B/O: Western Skies Practice 75,000.00
Managem Littleton, CO 80128-0000 Ref: Chase Nye/Ctr/Bnf<Orion Healthcorp
} inc Lawrenceville GA 30046-3240/Ac- 000000006849 Rfb=O/B Cobiz Bank Bbi
at =/Time/16:04 Imad: 0303J2B74W1C000187 Tm: 5437008062Ff
03/03 Deposit 5,640.76

EHREN-WALIA 00149

Page

CNA

on

CHASE &

Case 38-20-08049-ast Doc 90-3 Filed Ol/ls/23 Entered OL/13/235 20:41:44

March 01, 2017 through March 31, 2017

Account Number: 0O0000684966450

;\OEPOSITS AND ADDITIONS (continued)

DATE
03/06

03/06

03/06

03/06

03/08

DESCRIPTION
Book Transfer Credit B/O: Vachette Business Services, Ltd. Blissfield Ml
49228-1266 Tm: 4791 100065Jo

Book Transfer Credit B/O: Northeast Medical Solutions, LLC Monroeville PA
15146-2156 Tn: 4805100065Jo

Fedwire Credit Via: Grandpoint Bank/122244566 B/O: Rand Medical Billing Inc
Simi Valley CA 93065-0000 Ref: Chase Nyc/Ctr/Bnf=Orion Healtheorp Inc
Lawrenceville GA 30046-3240/Ac- 000000006849 Rib=O/B Grandpoint BO
BieTransfer To Orlon Bbi=/Time/15:4 9 Imad: 0306MmafmpSE000108 Tin:
4852409065Ff

Fedwire Credit Via: Zb, NA, (Formerly Amegy Bank N.A.)/113011258 B/O: Rmi
Physician Services Corp Houston TX 77042-6000 77042 Ref: Chase

Nyc/Ctr/Bnf=Orion Healthcorp Inc Lawrenceville GA 30046-3240/Ac-

000000006849 Ritb=21982281 Bbi-/Bnf/Dallas TX/Time/12:53 Imad:
0306L4B74B3C0008556 Tm: 3150309065Ff

Remote Online Deposit 4001
JPMorgan Access Transter From Account000000004063105
JPMorgan Access Transfer From Account000000004064343
JPMorgan Access Transfer From Account000000004063682
Remote Online Deposit 1001

Fedwire Credit Via: Grandpoint Bank/122244566 B/O: Rand Medical Billing Inc
Simi Valley CA 93065-0000 Ref: Chase Nyo/Ctr/Bnf=Orion Healthcorp Inc
Lawrenceville GA 30046-3240/Ac- 000000006849 Afb=O/B Grandpoint BO
Bic Transfer To Orion Bbi=/Time/16:3 3 Imad: O308MmafmpsSE000141 Tm:
§012809067Ff

Fedwire Credit Via: Cobiz Bank NA/102003206 B/O: Western Skies Practice
Managem Littleton, CO 80128-0000 Ref: Chase Nyo/Ctr/Bnf=Orion Healthcorp
Inc Lawrenceville GA 30046-3240/Ac- 000000006849 Rib=0/B Cobiz Bank Bbi
=/Time/16:41 Imad: 0308J2B74W1C000237 Tm: 5078509067Ff

Fedwire Credit Via: Zb, NA, (Formerly Amegy Bank N.A.)/113011258 B/O: Rmi
Physician Services Corp Houston TX 77042-6000 77042 Ref: Chase
Nyc/Ctr/Bnf=Orion Healthcorp Inc Lawrenceville GA 3C0046-3240/Ac-
000000006849 Rfb=22002378 Bbi=/Bnf/Dallas TX/Time/15:12 Imad:
0308L4B74B3C001899 Trn: 4242708067FI

JPMorgan Access Transfer From Account000000004063105

JPMorgan Access Transfer From Account000000004064343

JPMorgan Access Transfer From Account000000004063682

Book Transfer Credit B/O: Physicians Practice Plus LLC Jericho NY 11753- Trn:

3634700068Jo

Book Transfer Credit B/O: Vachette Business Services, Ltd. Blissfield Ml
49228-1266 Trn: 8644700068Jo

Remote Online Deposit 1001

Fedwire Credit Via: Bank of America N A/026009593 B/O; Orion Healthcorp Inc
Roswell Gaus Ref: Chase Nye/Ctr/Bni=Orion Healthcorp Inc Lawrenceville GA
30046-3240/Ac- 000000006849 Rfb=01 170310001627Nn O Bi=Ref Nynm,Ref
Orion Healthcorp IN C Bbi=/Time/15:12 Imad: 0310B6B7Hu3R01 1563 Tm:
471420S069Ff

Fedwire Credit Via: Grandpoint Bank/122244566 B/O: Rand Medical Billing Inc
Simi Valley CA 93065-0000 Ref: Chase Nye/Ctr/Bnf=Orion Healthcorp Inc
Lawrenceville GA 30046-3240/Ac- 000000006849 Rib=O0/B Grandpoint B O
Bi=Transfer To Orion Bbi=/Time/15:1 0 Imad: 0310MmafmpSE000188 Tm:
469380S069Ff

Book Transfer Credit B/O: Northeast Medical Solutions, LLC Monroeville PA
15146-2158 Tm: 52716000690

AMOUNT
85,000.00

65,000.00

62,000.00

31,000.00

1,249.00
97,000.00
65,000.00
33,000.00

250.00
26,000.00

20,000.00

8,000,00

119,000.00
51,000.00
38,000.00

117,000.00

44,000.00

2,589.85
29,562,500.00

52,000.00

47,000.00

EHREN-WALIA 00150

wae

pot

AY

f

Case o-2U0-06049-aSt DOC 20-5 Filed Ol/lo/2zs centered Uliloizo 20141744

CHASE &
= March 01, 2017 through March 31, 2017
Account Number: G00000684966450

DEPOSITS AND ADDITIONS| orice?)

DATE
03/10

03/16
03/16
03/16
03/16
03/17
03/17
03/20

03/20

03/22
03/28

», 03/29
y 08/29

Ca

03/30
03/31

03/31

03/31
03/31
03/31
03/31

DESCRIPTION
Orig CO Name:Paypal Orig 1D;Paypalsd11 Dese Date:170309 CO
Entry Deser:Transfer Sec:PPD Trace#:091000017451864 Eed:170310 Ind
ID:58622A38Sp5We Ind Name:Porteck Corporation

Transfer Tm: 0687451864Tc

Remote Online Deposit 1001

JPMorgan Access Transfer From Account000000004063105
JPMorgan Access Transfer From Account000000004064343

JPMorgan Access Transfer From Account000000004063682
Remote Online Deposit 4001
Deposit

Fedwire Credit Via: Grandpoint Bank/122244566 B/O: Rand Medical Billing Inc
Simi Valley CA 93065-0000 Ref: Chase Nyc/Ctr/Bnt=Orion Healthcorp litc
Lawrenceville GA 30046-3240/Ac- 000000006849 Rib=O/B Grandpoint BO
Bi=Transfer To Orion Bbi=/Time/13:4 1 Imad: 0820Mmaqfimp9E000063 Tr:
359400807SFf

Fedwire Credit Via: Cobiz Bank NA/102003206 B/O: Western Skies Practice
Managem Littleton, CO 80128-0000 Ref: Chase Nyo/Ctr/Bnf=Orion Healthcorp
Inc Lawrenceville GA 30046-3240/Ac- 000000006849 Rib=O/B Cobiz Bank Bbi
=/Time/13:37 Imad: 0320J2B74W1C000073 Tm: 3549909079Ff

Remote Online Deposit 1001
Remote Online Deposit 1001
Remote Online Deposit 1001
Deposit

Deposit 877321217

Fedwire Credit Via: Grandpoint Bank/122244566 B/O: Rand Medical Billing Inc
Simi Valley CA 93065-0000 Ref: Chase Nyc/Ctr/Bnf=Orion Heailthcorp Inc
Lawrenceville GA 30046-3240/Ac- 000000006849 Rib=O/B Grandpoint B O
Bic Transfer To Orion Bbi=/Time/15:1 9 Imad: 0834 MmaqfmpsE000214 Tm:
74101080S0Ff

Fedwire Credit Via: Silicon Valley Bank/121 140399 B/O: Collabnet Inc South San
Francisco, CA 94080 Ref: Chase Nyc/Ctr/Bnf=Orion Healthcorp Inc Lawrenceville
GA 30046-3240/Ac- cococ0006849 Rib=0/8 Sil Vly Bk S O Bi=Invoice
No.Inv-08731 Bbi=/Time/O 5:01 Imad: 0331L1B77D1C000245 Tm: 045880S090Ff

JPMorgan Access Transfer From Account000000004063105
JPMorgan Access Transfer From Account000000004063682
JPMorgan Access Transfer From Account000000004064343

Orig CO Name:Merck 2187 Orig 1D:1221109110 Dese Date:Mar 31 CO
Entry Descr:EDI Paymntsec:CCD Tracei#:028000088438435 Eed:170331 Ind
ID: 160390617 Ind Name:Integrated Physician S
Ref*TN*0160380617*Merck Sharp And D Ohme Corp.2100643530
00074265000000 02 116,14\ Tm: 0898438435Tc

Total Deposits and Additions

AMOUNT
9,000.00

599.95
219,000.00
84,000.00
42,000.00
125,555.41
13,279.52
92,000.00

72,000.00

4,776.53
10,822.59
67,285.87

447,21
25.00
60,000.00

6,254.00

475,000.00
176,000.00
174,000.00
116,148.24

$33,078,889.99

EHREN-WALIA 00151

A

pf

CHASE 4

Case 3-20-O08049-ast Doc so-3s Filed Ol/1lo/23 Entered OL/1o/23 20:41°44

March 01, 2017 through March 31, 2017

Account Number: OO0O000684966450

_ ELECTRONIC WITHDRAWALS|

* DATE
03/01

03/01
03/01

03/02
03/02

03/02
03/02
03/02

03/03

03/03
03/03

03/06
/~ gros
™ 03/08

03/08
03/09
03/09
03/09

03/10

03/10

03/10

03/10
03/10

03/14
03/14

03/14
an

- 03/14

DESCRIPTION

Fedwire Debit Via: Mfrs Buf/022000046 A/C: Msmd LLC US Ref:/Time/13:57 Imad:
0801B1Qgc07C010235 Tm: 3997700060Jo

JPMorgan Access Transfer To Account000000699642872

Orig CO Name:Orion Healthcorp Orig 1D:9966450001 Desc Date:Priund CO
Entry Deser:Cash Disb See:CCD Trace#:021000023722829 Eed:170301 Ind
ID:$866450001 Ind Name:EFT File Name: Rp06010 EFT/ACH
Created Offset For Origin#: 9090209001 CO Eff Date: 17/03/

JPMorgan Access Transfer To Account000000699642864

Fedwire Debit Via: Cb&T Dv of Synovus/061 100608 A/C: Data Media US Imad:
0302B1Qgc04C004841 Trn: 5686600061Jo

JPMorgan Access Transfer To Account000000699642864

JPMorgan Access Transfer To Account000000699642864

Orig CO Name:Orion Healthcorp Orig 1D:9966450001 Desc Date:Priund CO
Entry Deser:Cash Disb Sec:CCD Trace#:021000022908220 Eed:170302 Ind
1D:9966450001 Ind Name:EFT File Name: Rp06111 EFT/ACH
Created Offset For Origin#: 9080209001 CO Eff Date: 17/03/

Book Transfer Debit A/C: Physicians Practice Plus LLC Jericho NY 11753- Tn:
4622700062Jo

JPMorgan Access Transter To Account000000699642872

Book Transfer Debit A/C: Orion Healthcorp Inc Lawrenceville GA 30046-3240 Tn:
4862700062Jo

JPMorgan Access Transfer To Account000000699642872

JPMorgan Access Transfer To Account000000699842872

Fedwire Debit Via: Wells Fargo NA/121000248 A/C; Chlic US Ref:/Time/13:25
Imad: 0308B1Qgc03C010155 Tm: 3301200067Jo

JPMorgan Access Transfer To Account000000699842872

JPMorgan Access Transfer To Account000000699842864

JPMorgan Access Transfer To Account0000006996842864

Orig CO Name:Orion Healthcorp Orig ID:9966450001 Desc Date:Priund CO
Entry Deser:Cash Disb Sec:CCD Trace#:021000029939280 Eed:170309 Ind
ID:8866450001 Ind Name:EFT File Name: Rp06800 EFT/ACH
Created Offset For Origin#: 9090208001 CO Eff Date: 17/03/

Fedwire Debit Via: Citicorp FL/266086554 A/C: Holland & Knight Lip Trust Account
US Ref: Kelly Litigation Escrow Imad: 0810B1Qge01C004736 Trn: 5262200069Jo
Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Robinson Brog Leinwand
Greene Genovus Ref: Nynm Acqsn Reps & Warranties Escrow/Time/16:35 Imad:
031081Qgc07C023085 Tm: 5328500069Jo

Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Robinson Brog Leinwand
Greene Genovus Ref: Nynm Acqsn Share Esorow/Time/16:37 Imad:
0310B1Qgc03C005940 Tn: 5334300069Jo

JPMorgan Access Transfer To Account0ooocosss642864

Book Transfer Debit A/C: Elizabeth Kelly Staten Island NY 10304-1355 Ref: Nynm
Acqsn Orion Healthcorp Tm: 5469400069Jo

JPMorgan Access Transfer To Account000000699642872

Fedwire Debit Via: Bk Amer Nyc/O26009593 A/C: Mcguire Woods Operating
Account US Ref: Orion Healthcorp Inc Imad: 0314B1Qgc05C008082 Trn:
4158000073Jo

Fedwire Debit Via: Bk Amer Nyc/026009593 A/C: Moore And VAN Allen US Ref:
327000.027492, 758171 Imad: 0314BiQgc05C009882 Trn: 4550800073Jo

Orig CO Name:Orion Heaithcorp Orig 1D:9866450001 Desc Date:Prfund CO
Entry Descr:Cash Disb Sec:CCD Trace#:021000023320959 Eed:170314 Ind
ID:$966450001 Ind Name:EFT File Name: Rp07380S  EFT/ACH
Created Offset For Origin#: 090209001 CO Eff Date: 17/03/

AMOUNT
$20,000.00

11,051.22
$7,517.37

380,540.40
38,688.00

37,969.18
19,328.47
2,530.10

110,000.00

300,000.00
76,742.86

219,021.39
$15,000.00
976.31

69,154.82
8,857.17
286,477.32
3,500.00

820,500.00

3,590,000.00

2,000,000.00

155,040.58
15,589,500.00
136,425.57
42,850.00

28,500.00

2,968.01

EHREN;WALIA 00152

Seawe™
os

CHASE &

Case 3-20-O08049-ast Doc so-3s Filed Ol/1lo/23 Entered OL/1o/23 20:41°44

March 01, 2017 through March 31, 2017

Account Number. 0G0000684966450

}ELECTRONIC WITHDRAWALS] (Continued)

DATE
03/14

03/15

03/15

03/15

03/15

039/16
03/16
03/16

03/16 .

03/21

03/21

03/23
03/23
03/28
03/30
03/30
03/30

DESCRIPTION

Orig CO Name:Bmwiinancial Svs —_ Orig 1D: 1222568977 Desc Date: 170312 CO
Entry Deser:Bmwis Pymtsec:PPD Trace#:021000029641895 Eed:170314 Ind
1D:210311393 Ind Name;Harmohan Par4002267244 Tm:
0728641895Tc

Fedwire Debit Via: Qd Cty B&T Bttndrf/073902232 A/C: Pediatric Group
Associates SC US Imad: 0315BiQgc03C006974 Tm: 4125400074Jo

Fedwire Debit Via: First Financial Bk/042200910 A/C: Children's Medical Center
Payroll US Imad: 0815B1Qgc04C004420 Tm: 4129800074Jo

Fedwire Debit Via: Fifth Third Cinci/042000314 A/C: Pediatric Associates of Dayton
US Ref:/Time/17:15 Imad: 0315B1Qgc08C0087889 Trn: 5765100074Jo

Orig CO Name:Bankdirect Capit Orig ID:8000022256 Desc Date:031517 CO
Entry Deser:Web Pmts Sec:Web Trace#:111924687880371 Eed:170315 Ind
ID:Wrh7H6 “Thd Name:Orion Healthcorp, Inc

877-226-5456 Tm: 0747880371Tc

JPMorgan Access Transfer To Account000000699642864

JPMorgan Access Transfer To Account000000698642864

Orig CO Name:Orion Healthcorp Orig ID:9966450001 Desc Date:Prfund CO
Entry Deser:Cash Disb Sec:CCD Trace#:021000028145699 Eed:170316 Ind
ID:9866450001 Ind Name:EFT File Name: Rp07519 EFT/ACH
Created Offset For Origin#: $0S0208001 CO Eff Date: 17/03/

Orig CO Name:Orion Healthcorp Orig |D:9966450001 Desc Date:Priund CO
Entry Deser:Cash Disb Sec:CCD Trace#:021000026145681 Eed:170316 ind
1D:9966450001 Ind Name:EFT File Name: Rp0751J 9 EFT/ACH
Created Offset For Origin#: 8090208001 CO Eff Date: 17/08/

Fedwire Debit Via: Cb&T Dv of Synovus/061100606 A/C: Data Media US Imad:
0320B1Qgc01C005540 Tm: 4933700079Jo

Book Transfer Debit A/C: Sher Tremonte Lip Attorney Trust New York, NY
100042209 Trn: 4933600079Jo

Book Transfer Debit A/C: Physicians Practice Pius LLC Jericho NY 11753- Tm:
4951800079Jo

Orig CO Name:Orion Healthcorp Orig ID:9866450001 Desc Date:Prfund CO
Entry Descr:Cash Disb Sec:CCD Trace#:021000026514537 Eed:170321 Ind
ID:9966450001 Ind Name:EFT File Name: RpO8COT EFT/ACH
Created Offset For Origin#: $090209001 CO Eff Date: 17/03/

Orig CO Name:NJ Naturaigas Orig |D:4210621680 Desc Date:Mar 17 CO
Entry Deser:Ebill Sec:Web Trace#:031000056092910 Eed:1703821 Ind

ID: 10399608032017 Ind Name:Payer Name Tm: 0796092910Tc

Orig CO Name:NJ Naturalgas Orig 1D:4210621680 Desc Date:Mar 17 CO
Entry Descr:Ebill Sec:Web Trace#:031000056092911 Eed:170321 Ind
ID: 10398618032017 Ind Name:Payer Name Tm: 079609291 1Tc
JPMorgan Access Transfer To Account000000699642864

JPMorgan Access Transfer To Accounto0o0c00699642864

JPMorgan Access Transfer To Account000000699642872

JPMorgan Access Transfer To Accountoooocosss642864

JPMorgan Access Transfer To Accountoo0cocs9s642864

JPMorgan Access Transfer To Account000000699642872

Total Electronic Withdrawals

fan
j
Ne

AMOUNT
1,714.24

191,739.16
119,579.98
359,488.31

8,714.42

19,455. 10
375,410.68
44,586.55

1,200.00

94,712.65
9,444.44
110,956.46

7,289.00

2,162.35

1,554.43

8,727.66
278,747.87
943,806.98
375,630.50

19,777.94
244,838.63

$27,522,676.12 |

EHREN;WAL|A 00153

cL
Case o-20-06049-aSsI

CHASE &

DOC 90-5 =Fled Ulflo/2z5 Entered Ol/loizso 20141744

March 01, 2017 through March 31, 2017
Account Number: OOO000684966450

os
jOTHER WITHDRAWALS, FEES & CHARGES|__
DATE DESCRIPTION AMOUNT
039/03 Withdrawal $5,000.00
03/15 Account Analysis Settlement Charge 6,210.04
03/16 Withdrawal 5,500.00
03/16 Withdrawal 500.00
03/27 Withdrawal 6,500.00
Total Other Withdrawals, Fees & Charges $23,710.04
Your service charges, fees and earnings credit have been calculated through account analysis.
DAILY ENDING BALANCE -
DATE AMOUNT DATE AMOUNT
03/01 $519,938.37 03/17 6,725, 188.20
03/02 §19,136.22 03/20 6,674,074.65
03/03 108,034.12 03/21 6,663,068.87
03/06 13,261.73 03/22 6,667,845.40
03/07 13,511.73 03/23 6,380,369.87
03/08 205,380.60 03/27 6,373,869.87
(7 93/09 70,135.96 03/28 5,440,885.48
\ato 7,585,595,38 03/29 §,508,618.56
03/14 7,373,137.58 03/30 4,868,396.49
03/15 6,687 405,65 03/31 §,875,798.73
O3/16 6,586,353.27

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or
address on the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if

you need more information about a transfer listed on the statement or recelpt.

We must hear from you no later than 60 days after we sent you

the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number
* The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you believe It is an error, or why you need more information.

We will investigate your complaint and will correct any error promp

accounts) to do this, we will credit your account for the amount yo
takes us to complete our investigation .

i

lfwe take more than 10 business days (or 20 business days for new
ink is in error so that you will have use of the money during the tima it

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement Is

incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement, If any such error
appears, you must notify the bank fn writing no later than 30 days aiter the statement was made available to you. For more complete delalls,

see the

A»

Account Rules and Regulations cr other applicable account agreement that governs your account.

2)

causes JPMorgan Chase Bank, N.A. Member FDIC

EHREN-WALIA 00154

See eae”

